
MILLER, Judge.
For the reasons stated in the consolidated case of Michigan Wisconsin Pipe Line Company v. Walet, La.App., 225 So.2d 76, in which a separate decision is being rendered by us this date, the judgment appealed in the present case is amended and affirmed.
It is now ordered, adjudged and decreed that the trial court’s judgment is amended such that Michigan Wisconsin Pipe Line Company is ordered to pay to Defendants Louis B. Dugas and Verna Mae L. Dugas, the sum of Sixty-nine hundred ninety-two and 70/100 ($6992.70) Dollars, together with interest of 5% per annum from August 9, 1968 until paid, which is adjudged to be the value of the right of way and damages resulting from the construction of the pipeline together with expenses found to be a direct consequence of construction of the pipeline; specifically reserving to defendants their claim for damages to their 1968 crop located outside the right of way but within a “cut” crossed by the pipeline.
All court costs are to be paid by Michigan Wisconsin Pipe Line Company.
Amended and affirmed.
